       Case 3:04-cr-05487-FDB           Document 258        Filed 06/06/05      Page 1 of 1



 1

 2

 3

 4

 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT TACOMA

 7    UNITED STATES OF AMERICA,
 8                   Plaintiff,
                                                                 Case No. CR04-5487FDB
 9            v.
                                                                 ORDER DENYING DEFENDANT’S
10    THOMAS DAVID WEATHERS and KATHY                            RENEWED AMENDED MOTION TO
      JEAN WEATHERS,                                             DISMISS
11
                     Defendant.
12

13          Defendant Weathers’ renews his amended motion to dismiss Count I of the Superseding

14   Indictment. Defendant again argues for dismissal, stating that the Court failed to address his statute

15   of limitations argument. The Court’s Order of May 13, 2005 specifically addressed the Defendant’s

16   statute of limitations argument and denied the amended motion to dismiss the Superseding

17   Indictment, including Count I.

18          ACCORDINGLY,

19          IT IS ORDERED:

20          (1)     Defendant’s renewed amended motion to dismiss (Dkt.#241) is DENIED.

            DATED this 6th day of June, 2005.



                                                   A
21

22

23
                                                   FRANKLIN D. BURGESS
24                                                 UNITED STATES DISTRICT JUDGE

25

26   ORDER - 1
